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  1   JOHN-PATRICK M. FRITZ (State Bar No. 245240)
      LEVENE, NEALE, BENDER,
  2   YOO & GOLUBCHIK L.L.P.
  3   2818 La Cienega Avenue
      Los Angeles, California 90034
  4   Telephone: (310) 229-1234
      Facsimile: (310) 229-1244
  5   Email: JPF@LNBYG.COM
  6   Attorneys for Chapter 11
  7   Debtor and Debtor in Possession

  8
                             UNITED STATES BANKRUPTCY COURT
  9                           CENTRAL DISTRICT OF CALIFORNIA
                                   LOS ANGELES DIVISION
10
      In re:                                           )   Case No.: 2:22-bk-10266-BB
11                                                     )
      ESCADA AMERICA LLC,                              )   Chapter 11 Case
12                                                     )   Subchapter V
                Debtor and Debtor in Possession.       )
13                                                         DECLARATION OF JOHN-PATRICK
                                                       )
                                                       )   M. FRITZ, ESQ. IN SUPPORT OF
14                                                         EMERGENCY FIRST DAY MOTIONS
                                                       )
15                                                     )
                                                           Hearing:
                                                       )
16                                                         Date: January 20, 2022
                                                       )
                                                           Time: 10:00 a.m.
                                                       )
17                                                         Place: Courtroom 1539
                                                       )
                                                                  255 East Temple Street
18                                                     )
                                                                  Los Angeles, CA 90012
                                                       )
19                                                     )
                                                           Hearing to be held in-person and by video-
                                                       )
20                                                         conference Government Zoom, see Court’s
                                                       )
                                                           website under “Telephonic Instructions” for
                                                       )
21                                                         more details:
                                                       )
                                                           https://www.cacb.uscourts.gov/judges/honor
22                                                     )
                                                           able-sheri-bluebond
                                                       )
23                                                     )
                                                       )
24                                                     )
25                                                     )
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  1          I, John-Patrick M. Fritz, hereby declare as follows:

  2          1.      I have personal knowledge of the facts set forth below and, if called to testify,

  3   would and could competently testify thereto.

  4          2.      I am a partner of the law firm of Levene, Neale, Bender, Yoo & Golubchik L.L.P.

  5   (“LNBYG”), bankruptcy counsel to Escada America LLC, a Delaware limited liability company

  6   (the “Debtor”), the debtor and debtor in possession in this chapter 11 bankruptcy case.

  7          3.      My firm obtained a copy of the UCC filings in the State of Delaware for the

  8   Debtor in order to assess asserted secured claims related thereto. A true and correct copy of the

  9   UCC filing report results is attached hereto as Exhibit 7.        (Exhibits “1” through “6” are

10    purposely omitted to maintain continuity in exhibit numbering with the separately and

11    concurrently filed declaration of Kevin Walsh.)

12           4.      The UCC report lists the following active liens:

13           5.      A UCC-1 financing statement (filing number 20204572691) filed on July 2, 2020,

14    for secured party Eden Roc International, LLC, providing notice of a blanket lien against

15    substantially all of the Debtor’s property.

16           6.      A UCC-1 financing statement (filing number 20204572923) filed on July 2, 2020,

17    for secured party Mega International, LLC, providing notice of a blanket lien against

18    substantially all of the Debtor’s property.

19           7.      A UCC-1 financing statement (filing number 20211151423) filed on February 11,

20    2021, for secured party Escada Sourcing and Production, LLC, providing notice of a blanket lien

21    against substantially all of the Debtor’s inventory.

22           8.      A UCC-1 financing statement (filing number 20211151456) filed on February 11,

23    2021, for secured party Mega International, LLC, providing notice of a blanket lien against

24    substantially all of the Debtor’s property.

25    ///

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  1          I declare and verify under penalty of perjury that the foregoing is true and correct to the

  2   best of my knowledge, information and belief.

  3          Executed on this 18th day of January 2022, at Los Angeles, California.

  4

  5                                                            /s/ John-Patrick M. Fritz
                                                          JOHN-PATRICK M. FRITZ, Declarant
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                                 Exhibit 7
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                                            Delaware                                                  Page 1

                                                        The First State
                                                   CERTIFICATE

          SEARCHED JANUARY 18, 2022 AT 3:58 P.M.
          FOR DEBTOR, ESCADA AMERICA

         1 OF 4                       FINANCING STATEMENT                                20204572691
                            EXPIRATION DATE: 07/02/2025
    DEBTOR:               ESCADA AMERICA LLC

                          9720 WILSHIRE BOULEVARD, 6TH FLOOR                           ADDED     07-02-20

                          BEVERLY HILLS, CA US 90212

    SECURED:              EDEN ROC INTERNATIONAL, LLC

                          9720 WILSHIRE BLVD., 6TH FLOOR                               ADDED     07-02-20

                          BEVERLY HILLS, CA US 90212



                                                F I L I N G            H I S T O R Y

      20204572691                FILED 07-02-20                  AT 9:40 A.M.     FINANCING STATEMENT



         2 OF 4                       FINANCING STATEMENT                                20204572923
                            EXPIRATION DATE: 07/02/2025
    DEBTOR:               ESCADA AMERICA LLC

                          9720 WILSHIRE BOULEVARD, 6TH FLOOR                           ADDED     07-02-20

                          BEVERLY HILLS, CA US 90212




 20226888705-UCC11                                                                     Authentication: 202421331
 SR# 20220160752                                                                                   Date: 01-18-22
 You may verify this certificate online at corp.delaware.gov/authver.shtml
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                                                       The First State
   SECURED:              MEGA INTERNATIONAL, LLC

                         9720 WILSHIRE BOULEVARD, 6TH FLOOR                           ADDED     07-02-20

                         BEVERLY HILLS, CA US 90212



                                               F I L I N G            H I S T O R Y

     20204572923                FILED 07-02-20                  AT 9:44 A.M.     FINANCING STATEMENT



        3 OF 4                       FINANCING STATEMENT                                20211151423
                           EXPIRATION DATE: 02/11/2026
   DEBTOR:               ESCADA AMERICA LLC

                         9720 WILSHIRE BOULEVARD, 6TH FLOOR                           ADDED     02-11-21

                         BEVERLY HILLS, CA US 90212

   SECURED:              ESCADA SOURCING AND PRODUCTION LLC

                         9720 WILSHIRE BOULEVARD, 6TH FLOOR                           ADDED     02-11-21

                         BEVERLY HILLS, CA US 90212



                                               F I L I N G            H I S T O R Y

     20211151423                FILED 02-11-21                  AT 1:01 P.M.     FINANCING STATEMENT




20226888705-UCC11                                                                     Authentication: 202421331
SR# 20220160752                                                                                   Date: 01-18-22
You may verify this certificate online at corp.delaware.gov/authver.shtml
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                                           Delaware                                                  Page 3

                                                       The First State
        4 OF 4                       FINANCING STATEMENT                                20211151456
                           EXPIRATION DATE: 02/11/2026
   DEBTOR:               ESCADA AMERICA LLC

                         9720 WILSHIRE BOULEVARD, 6TH FLOOR                           ADDED     02-11-21

                         BEVERLY HILLS, CA US 90212

   SECURED:              MEGA INTERNATIONAL, LLC

                         9720 WILSHIRE BOULEVARD, 6TH FLOOR                           ADDED     02-11-21

                         BEVERLY HILLS, CA US 90212



                                               F I L I N G            H I S T O R Y

     20211151456                FILED 02-11-21                  AT 1:04 P.M.      FINANCING STATEMENT



                                  E N D       O F      F I L I N G          H I S T O R Y

     THE UNDERSIGNED FILING OFFICER HEREBY CERTIFIES THAT THE ABOVE
LISTING IS A RECORD OF ALL PRESENTLY EFFECTIVE FINANCING STATEMENTS,
LAPSED FINANCING STATEMENTS, FEDERAL TAX LIENS AND UTILITY SECURITY
INSTRUMENTS FILED IN THIS OFFICE WHICH NAME THE ABOVE DEBTOR, ESCADA
AMERICA AS OF DECEMBER 10, 2021 AT 11:59 P.M.




20226888705-UCC11                                                                     Authentication: 202421331
SR# 20220160752                                                                                   Date: 01-18-22
You may verify this certificate online at corp.delaware.gov/authver.shtml
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  1                            PROOF OF SERVICE OF DOCUMENT
  2
      I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business
      address is 2818 La Cienega Avenue, Las Angeles, CA 90034
  3
      A true and correct copy of the foregoing document entitled DECLARATION OF JOHN-PATRICK M.
  4   FRITZ, ESQ. IN SUPPORT OF EMERGENCY FIRST DAY MOTIONS will be served or was served (a)
      on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner
  5   stated below:

  6   1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to
      controlling General Orders and LBR, the foregoing document will be served by the court via NEF and
  7   hyperlink to the document. On January 18, 2022, I checked the CM/ECF docket for this bankruptcy case
      or adversary proceeding and determined that the following persons are on the Electronic Mail Notice List
  8   to receive NEF transmission at the email addresses stated below:

  9                                                              Service information continued on attached page

10    2. SERVED BY UNITED STATES MAIL: On January 18, 2022, I served the following persons and/or
      entities at the last known addresses in this bankruptcy case or adversary proceeding by placing a true
11    and correct copy thereof in a sealed envelope in the United States mail, first class, postage prepaid, and
      addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
12    completed no later than 24 hours after the document is filed.
                                                                 Service information continued on attached page
13
      3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL
14    (state method for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on
      January 18, 2022, I served the following persons and/or entities by personal delivery, overnight mail
15    service, or (for those who consented in writing to such service method), by facsimile transmission and/or
      email as follows. Listing the judge here constitutes a declaration that personal delivery on, or overnight
      mail to, the judge will be completed no later than 24 hours after the document is filed.
16
      Via Overnight Mail
17    The Honorable Sheri Bluebond                               By email to:
      United States Bankruptcy Court                             - Eden Roc International, LLC
18    Central District of California                             - Escada Sourcing and Production LLC
      Edward R. Roybal Federal Building and Courthouse           - Mega International, LLC
19    255 E. Temple Street, Suite 1534 / Courtroom 1539
      Los Angeles, CA 90012
20
                                                                 Service information continued on attached page
21
      I declare under penalty of perjury under the laws of the United States of America that the foregoing is true
22    and correct.

23     January 18, 2022              Jason Klassi                        /s/ Jason Klassi
       Date                            Type Name                         Signature
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  1   2:22-bk-10266 Notice will be electronically mailed to:

  2   John-Patrick M Fritz on behalf of Debtor Escada America, LLC
      jpf@lnbyg.com, JPF.LNBYB@ecf.inforuptcy.com
  3
      United States Trustee (LA)
  4   ustpregion16.la.ecf@usdoj.gov

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  Escada 9277
  20 Largest




717 GFC LLC                           Beverly Hills Wilshire Hotel                 SAMSON MANAGEMENT CORP.
Attn: Mrs.Tsui Yeung                  9500 WILSHIRE BLVD                           Attn.: Kathy Panaro
500 5th Avenue 54th Floor             BEVERLY HILLS, CA 90212                      97-77 QUEENS BLVD, SUITE 710
New York City, NY 10110                                                            REGO PARK, NY 11374

ty@jeffsutton.com                                                                  kpanaro@rosenyc.com
212.573.9001 fax 212.573.9173                                                      (212) 210-6753

Chicago Oak Street Partners, LLC      Alliant Insurance Services, Inc.             SPG HOUSTON HOLDINGS,LP
Attn: Lesley Pembroke                 701 B St 6th Floor                           PO Box 822693
1343 N. Wells Street, Rear Bldg.      San Diego, CA 92101                          PHILADELPHIA, PA 19182-2693
Chicago, IL 60610
                                      Emily.Quinlan@alliant.com                    317.263.3037
pmdcompany1343@gmail.com              415 946 7500
312.944.8200 fax: 312.944.8227

Las Vegas North Outlets, LLC          Ala Moana Anchor Acquisition, LLC            CHETRIT 1412 LLC
Attn: Marie Wood                      Attn: Lisa Gordon                            Attn: Nativ Winiarsky
875 South Grand Central Parkway, #1   PO Box 860375                                PO Box 785000
Las Vegas, NV 89106                   Minneapolis, MN 55486-0074                   PHILADELPHIA, PA 10018

Marie.Wood@simon.com                  Lisa.Gordon@brookfieldpropertiesretail.com   nwiniarsky@kuckermarino.com
317-685-7335                          818.693.1907                                 212.869.5030 fax 212.944.5818

Syzygy Performance GmbH               Scottsdale Fashion Square LLC                Woodbury Common Premium Outlets
Osterwaldstra e 10                    Attn: Tamara Ortega                          Attn: Marie Wood
Munchen, Germany 80805-0000           PO Box 31001-2156                            PO Box 822884
                                      Pasadena, CA 91110-2156                      Philadelphia, PA 19182-2884
buchhaltung@catbirdseat.de
*+49 898 0991 1800                    Tamara.Ortega@macerich.com                   Marie.Wood@simon.com
                                      602.953.6328                                 317-685-7335

Premium Outlet Partners LP            Bal Harbour Shops LLLP                       METROPOLITAN TELECOMM.
Attn: Leslie C. Traylor               Attn: Lorena Dehogues                        PO Box 9660
PO Box 822873                         9700 Collins Avenue                          MANCHESTER, NH 03108-9660
Philadelphia, PA 19182-2873           Bal Harbour, FL 33154
                                                                                   customerservice@mettel.net
Leslie.Traylor@simon.com              ld@whitmanfd.com                             866 625 2228
317-263-2315                          305.403.9249

AMERICAN EXPRESS                      Johnson Controls Security Solutions          Simon Property Group LP
PO Box 1270                           Attn: Virgil Guerra                          2696 Solution Center
NEWARK, NJ 07101-1270                 PO Box 371994                                Chicago, IL 60677-2006
                                      Pittsburgh, PA 15250-7994
AmericanExpress@welcome.aexp.com                                                   317-263-7071
800 528 2122                          virgilio.guerra@jci.com
                                      800-289-2647

Cushman and Wakefield                 Funaro & co., P.C.
Attn: Kaleb McCullough                Attn: Joseph M. Catalano
1290 Avenue of the Americas           350 Fifth Avenue, 41st Fl
New York, NY 10104                    New York, NY 10118

kaleb.mccullough@cushwake.com         joe.catalano@funaro.com
314-391-6192                          (212) 273-5389 fax: (212) 947-4725
